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5
6    Attorneys for Defendant
     MARIA DEL ROCIO ARCEO-RANGEL
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 09-407 KJM
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   MARIA DEL ROCIO ARCEO-RANGEL,                       RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable KIMBERLY J. MUELLER
16
17             Defendant, MARIA DEL ROCIO ARCEO-RANGEL, by and through her attorney,
18   Assistant Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF
19   AMERICA, by and through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as

20   follows:

21             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

22   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

23   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

24   pursuant to 28 U.S.C. § 994(o);

25             2.         On June 11, 2014, this Court sentenced Ms. Arceo-Rangel to a term of 136

26   months imprisonment;

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28

     Stipulation and Order Re: Sentence Reduction         1
       Case 2:09-cr-00407-KJM Document 484 Filed 10/02/15 Page 2 of 3


1              3.         Her total offense level was 34, her criminal history category was I, and the
2    resulting guideline range was 151 to 188 months. Ms. Arceo-Rangel received a sentence below
3    the applicable range;
4              4.         The sentencing range applicable to Ms. Arceo-Rangel was subsequently lowered
5    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
6    2014, see 79 Fed. Reg. 44,973;
7              5.         Ms. Arceo-Rangel’s total offense level has been reduced from 34 to 32, and her
8    amended guideline range is 121 to 151 months;
9              6.         Accordingly, the parties request the Court enter the order lodged herewith
10   reducing Ms. Arceo-Rangel’s term of imprisonment to 121 months.
11   Respectfully submitted,
12   Dated: September 30, 2015                          Dated: September 30, 2015
13   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
14
15    /s/ Jason Hitt                                    /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
16   Assistant U.S. Attorney                            Assistant Federal Defender
17   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           MARIA DEL ROCIO ARCEO-RANGEL
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     Stipulation and Order Re: Sentence Reduction          2
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1
                                                    ORDER
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               This matter came before the Court on the stipulated motion of the defendant for reduction
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     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4
               The parties agree, and the Court finds, that Ms. Arceo-Rangel is entitled to the benefit of
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     Amendment 782, which reduces the total offense level from 34 to 32, resulting in an amended
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     guideline range of 121 to 151 months.
7
               IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2014 is
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     reduced to a term of 121 months.
9
               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
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     remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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     reduction in sentence, and shall serve certified copies of the amended judgment on the United
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     States Bureau of Prisons and the United States Probation Office.
13
               Unless otherwise ordered, Ms. Arceo-Rangel shall report to the United States Probation
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     Office within seventy-two hours after her release.
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     Dated: October 1, 2015
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18                                                      UNITED STATES DISTRICT JUDGE

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     Stipulation and Order Re: Sentence Reduction       3
